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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,                       )
          Plaintiff,                            )
vs.                                             )    No. 3:08-CR-167-B (BH)
                                                )
JARVIS DUPREE ROSS,                             )
          Defendant.                            )

             ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

       After reviewing all relevant matters of record in this case, including the Findings, Conclu-

sions, and Recommendation of the United States Magistrate Judge and any objections thereto, in

accordance with 28 U.S.C. § 636(b)(1), the Court is of the opinion that the Findings and Conclu-

sions of the Magistrate Judge are correct and they are accepted as the Findings and Conclusions of

the Court. For the reasons stated in the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge, Defendant Jarvis Dupree Ross’s Request of Temporary Reprieval of Monetary

Payment Schedule, received July 24, 2014 (doc. 580), may not be construed as a motion under 28

U.S.C. § 2241 and is hereby DENIED.

       SIGNED this 7th day of January, 2015.




                                             _________________________________
                                             JANE J. BOYLE
                                             UNITED STATES DISTRICT JUDGE
